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                          EXHIBIT 5
Case 8:18-cv-00138-JLS-JDE Document 1-5 Filed 01/24/18 Page 2 of 3 Page ID #:314




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 5   ATTORNEYS FOR PLAINTIFF
 6
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7
                                     COUNTY OF ORANGE
 8

     JOHN C. MANOS,                                )       Civil Action No.
 9
     individually and on behalf of all similarly   )       30-2016-00885625-CU-BC-CJC
10   situated individuals                          )
                                                   )       JUDGE: Hon. James Crandall
11   PLAINTIFF                                     )
                                                   )
12                                                 )       PROOF OF SERVICE OF
     vs.                                           )       PLAINTIFF'S THIRD
13
                                                   )       AMENDED COMPLAINT AND
     THE WOLF FIRM, A LAW                          )       EXHIBITS IN SUPPORT
14
     CORPORATION; ET AL.                           )
15                                                 )
     DEFENDANTS                                    )
16                                                 )

17

18   COMES NOW John C. MANOS, and through his counsel, files the attached proof of service.
                          Respectfully Submitted by
19

20
                                  s/ Nicolette Glazer Esq.
                                   Nicolette Glazer Esq.
21                                 LAW OFFICES OF LARRY R GLAZER
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Case 8:18-cv-00138-JLS-JDE Document 1-5 Filed 01/24/18 Page 3 of 3 Page ID #:315




     CERTIFICATE OF SERVICE BY ELECTRONIC MAIL OR U.S. MAIL
 1

 2
     I, the undersigned, state that I am employed in the County of Los Angeles; that I am over the
     age of eighteen (18) years, and not a party to the within cause; and that my business address is
 3   1875 Century Park East, 7th Floor, Century City, California 90067.

 4   I am readily familiar with the business practice of my firm for collection and processing of
     correspondence for mailing with the United States Postal Service. In the ordinary course of
 5   business, correspondence is deposited with the United States Postal Service the same day it is
     submitted for mailing.
 6

     On 25 December 2017 I served a true copy of:
 7

 8   PLAINTIFF'S THIRD AMENDED COMPLAINT AND EXHIBITS IN SUPPORT

 9    [ XX By Electronic Mail — serving the enclosed via e-mail transmission trough the e-file/e-
     serve court portal to each of the following parties
10          rnmadden@goodwinprocter.com
            Molly K. Madden, Esq. , Representing Defendant Select Portfolio Inc.
11

12
            isandler@bhfs.com
            Jonathan Sandler, Esq.
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14
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15          Mark Sarni Esq. Representing Defendant Northwest Trustee Services Inc.
            and Defendant RCO Legal, P.S.
16

17
            deborah.heald@bryancave.com
            Deborah Heald Esq. Representing Defendants JP Morgan Chase, NA,
18          WaMu Asset Inc., and CHF-TX

19

20   I certify and declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.
21

     Executed on 25 December 2017
22

23
                                                   s/Nicolette Glazer
24                                           Nicolette Glazer Esq.

25




                                                                            LAW OFFICES OF LARRY R. GLAZER

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